              CaseE-Filed
Filing # 46141073 3:16-cv-00541-MCR-GRJ    Document
                          09/07/2016 02:12:11 PM    1-1 Filed 10/11/16 Page 1 of 19



                IN THE CIRCUIT COURT IN AND FOR SANTA ROSA COUNTY, FLORIDA

         MYRA PRECISE,

                        Plaintiff,
         vs.                                                   Case No.:

         CREDIT ONE BANK,

                     Defendant.
         _______________________________________/

                                                   COMPLAINT

                Myra Precise (hereafter the “Plaintiff”), by and through undersigned counsel, hereby sues

         defendant, Credit One Bank (hereafter the “Defendant”), and states as follows:


                                              NATURE OF ACTION

                1.      This is an action for injunctive relief and damages in excess of $15,000, exclusive

         of costs, interest and attorney’s fees, brought by Plaintiff, Myra Precise, an individual consumer,

         for violations of the Telephone Consumer Protection Act, 47 U.S.C. §§ 227 et seq. (hereafter the

         “TCPA”) and the Florida Consumer Collection Practices Act, Florida Statute §§ 559.55 et seq.

         (hereafter the “FCCPA”) by Credit One Bank.

                                          JURISDICTION AND VENUE

                2.      Jurisdiction of this Court arises pursuant to Fla. Stat. § 26.012, Fla. Stat.

         § 559.77(1) and 47 U.S.C. § 227(b)(3).

                                                   THE PARTIES

                3.      Plaintiff is an individual who resides in Santa Rosa County, Florida.

                4.      Plaintiff had an alleged debt to Defendant arising out of personal, family, or

         household purposes.

                5.      Plaintiff is a “consumer” as defined by Fla. Stat. § 559.55(2).
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        6.        Defendant is a corporate entity responsible for attempting to collect a debt from

Plaintiff and is transacting business in the State of Florida.

        7.        Defendant is a “debt collector,” as defined by Fla. Stat. § 559.55(6).

        8.        Defendant is a “person” subject to regulations under Fla. Stat. § 559.72.

        9.        The debt is a consumer debt as defined by Fla. Stat. § 559.55(1).

                                     FACTUAL ALLEGATIONS

        10.       Beginning in June 2014, Plaintiff began to receive multiple telephone calls from

Defendant to Plaintiff’s cellular phone, (850) 698-3663, in an attempt to collect an alleged debt.

        11.       Plaintiff was the regular user and carrier of the cellular telephone (850) 698-3663

and was the called party and recipient of Defendant’s described calls.

        12.       Defendant called Plaintiff using number(s) (206) 209-2296, (209) 247-1136,

(214) 446-4407, (303) 586-7673, (310) 361-0035, (323) 395-2512, (404) 239-2814, (425) 242-

3621, (470) 225-2571, (541) 225-4854, (678) 528-2858, (702) 224-2091, (732) 867-2871, (732)

867-2901, (855) 213-5764, (866) 372-2508, (866) 473-4868, and (973) 796-5994.

        13.       Despite her request for the calls to stop, Defendant continued to call Plaintiff’s

cellular phone.

        14.       Defendant called Plaintiff a minimum of 284 times between June 19, 2014 and

December 26, 2014.

        15.       Exhibit “A” displays the times and dates of at least some of the telephone calls

made by Defendant to Plaintiff’s cellular telephone between June 19, 2014 to December 26,

2014.




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          16.   Defendant attempted to collect a debt from Plaintiff by this campaign of telephone

calls.

          17.   The telephone calls made to Plaintiff’s cellular telephone were willfully or

knowingly made.

          18.   The telephone calls made to Plaintiff’s cellular telephone were made using an

automatic telephone dialing system.

          19.   The telephone calls made by Defendant were made using artificial or prerecorded

voice.

          20.   Defendant did not have Plaintiff’s consent to call her cellular telephone using

automatic dialing equipment.

          21.   The telephone calls made to Plaintiff’s cellular telephone were not made for

emergency purposes.

          22.   The phone numbers (206) 209-2296, (209) 247-1136, (214) 446-4407, (303) 586-

7673, (310) 361-0035, (323) 395-2512, (404) 239-2814, (425) 242-3621, (470) 225-2571, (541)

225-4854, (678) 528-2858, (702) 224-2091, (732) 867-2871, (732) 867-2901, (855) 213-5764,

(866) 372-2508, (866) 473-4868, and (973) 796-5994 are numbers that did or do belong to

Defendant or its agents.

          23.   All conditions precedent to bringing this action have been performed or have been

waived.

          24.   Defendant was continuously contacting Plaintiff to collect an alleged debt owed

by Plaintiff.




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                            COUNT I- VIOLATIONS OF THE TCPA

       25.     Plaintiff incorporates by reference paragraphs 1 through 24 of this Complaint.

       26.     Defendant willfully and knowingly placed non-emergency telephone calls to

Plaintiff’s cellular telephone using an automatic telephone dialing system and/or used a pre-

recorded or artificial voice to Plaintiff’s cellular telephone without Plaintiff’s consent in violation

of 47 U.S.C. § 227(b)(1)(A)(iii).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

against Defendant for:

               a.        Damages; and

               b.        Such other or further relief as the Court deems equitable, just, or proper.

COUNT II- VIOLATIONS OF FLORIDA CONSUMER COLLECTION PRACICES ACT

       27.     Plaintiff incorporates by reference paragraphs 1 through 24 of this Complaint.

       28.     By continuing to contact Plaintiff despite having actual knowledge that Plaintiff

did not consent to be called, by using automatic telephone dialing equipment to call Plaintiff’s

cellular telephone and leaving artificial or pre-recorded voicemails in her cellular telephone’s

voicemail box, by calling her at least 284, and by communicating with Plaintiff in a manner

reasonably expected to harass Plaintiff, Defendant harassed Plaintiff in violation of Fla. Stat. §

559.72 (7).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

against Defendant for:

               a.        Actual and statutory damages;

               b.        Attorney’s fees, litigation expenses and costs of suit; and


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                c.      Such other or further relief as the Court deems equitable, just, or proper.

                               COUNT III- INJUNCTIVE RELIEF

       29.      Plaintiff incorporates by reference paragraphs 1 through 24 of this Complaint.

       30.      Plaintiff seeks a permanent injunction prohibiting Defendant from continuing its

violations of the FCCPA;

       WHEREFORE, Plaintiff requests that the Court enter judgment:

             a) Declaring that Defendant’s practices violated the FCCPA;

             b) Permanently enjoining the Defendant from engaging in the violative practices;

                and

             c) Such other and further relief as the Court deems equitable, just, or proper.

       Plaintiff demands a jury trial.

       DATED on September 7, 2016.

                                                      /s/ Eric D. Stevenson
                                                       Eric D. Stevenson
                                                       Stevenson Klotz, LLP
                                                       Florida Bar No. 144495
                                                       212 W. Intendencia Street
                                                       Pensacola, FL 32502
                                                       (850) 444-0000
                                                       (866) 251-7888 – Facsimile
                                                       eric@stevensonklotz.com
                                                       serviceeds@stevensonklotz.com
                                                       Attorney for Plaintiff




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                            “Exhibit “A”- Call Log
                         Myra Precise v. Credit One Bank

  Call Date/ Call Time                        Telephone Number

1. 06/19/2014 01:05:26 PM                       7328672901

2. 06/20/2014 09:01:13 AM                       7328672901

3. 06/20/2014 02:45:13 PM                       7328672901

4. 08/23/2014 01:43:35 PM                       8552135764

5. 08/23/2014 02:44:10 PM                       8663722508

6. 08/25/2014 05:36:18 PM                       8552135764

7. 08/25/2014 08:17:03 PM                       8552135764

8. 08/26/2014 12:02:46 PM                       8552135764

9. 08/26/2014 06:47:00 PM                       8552135764

10. 08/27/2014 12:09:41 PM                      8663722508

11. 08/27/2014 06:17:43 PM                      8663722508

12. 08/28/2014 07:54:39 PM                      8552135764

13. 08/29/2014 08:31:28 AM                      8552135764

14. 08/29/2014 09:50:29 AM                      8552135764

15. 08/29/2014 02:59:29 PM                      8663722508

16. 08/29/2014 05:18:35 PM                      8552135764

17. 08/30/2014 09:41:48 AM                      8552135764

18. 09/02/2014 02:39:14 PM                      8663722508

19. 09/06/2014 10:23:22 AM                      8552135764

20. 09/06/2014 12:42:43 PM                      8552135764
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21. 09/10/2014 04:34:11 PM              8552135764

22. 09/10/2014 08:30:14 PM              8552135764

23. 09/11/2014 08:08:53 PM              8552135764

24. 09/12/2014 09:21:47 AM              8552135764

25. 09/12/2014 02:23:52 PM              8663722508

26. 09/12/2014 03:30:13 PM              8552135764

27. 09/12/2014 05:05:47 PM              8552135764

28. 09/13/2014 09:48:29 AM              8552135764

29. 09/14/2014 01:01:13 PM              8552135764

30. 09/16/2014 08:12:05 PM              8663722508

31. 09/17/2014 05:15:42 PM              8552135764

32. 09/17/2014 08:18:33 PM              8663722508

33. 09/19/2014 01:04:19 PM              5412254854

34. 09/20/2014 10:29:47 AM              5412254854

35. 09/20/2014 11:46:26 AM              5412254854

36. 09/20/2014 02:10:55 PM              5412254854

37. 09/20/2014 03:12:20 PM              5412254854

38. 09/22/2014 11:54:23 AM              2092471136

39. 09/22/2014 12:55:19 PM              2092471136

40. 09/22/2014 06:16:33 PM              2092471136

41. 09/23/2014 01:15:15 PM              2144464407




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Case 3:16-cv-00541-MCR-GRJ Document 1-1 Filed 10/11/16 Page 8 of 19



42. 09/24/2014 12:45:58 PM              3035867673

43. 09/24/2014 12:56:42 PM              2092471136

44. 09/24/2014 06:32:18 PM              2092471136

45. 09/24/2014 07:50:08 PM              2092471136

46. 09/26/2014 01:58:29 PM              3233952512

47. 09/26/2014 03:00:15 PM              3233952512

48. 09/27/2014 10:41:26 AM              4252423621

49. 09/27/2014 11:23:50 AM              4252423621

50. 09/27/2014 11:25:26 AM              4252423621

51. 09/27/2014 02:52:45 PM              4252423621

52. 09/29/2014 10:30:44 AM              5412254854

53. 09/29/2014 11:40:38 AM              5412254854

54. 09/30/2014 11:54:43 AM              3035867673

55. 09/30/2014 05:54:02 PM              3035867673

56. 09/30/2014 07:03:11 PM              3035867673

57. 10/02/2014 05:16:54 PM              5412254854

58. 10/03/2014 11:51:35 AM              2144464407

59. 10/03/2014 06:34:38 PM              2144464407

60. 10/04/2014 10:17:42 AM              3035867673

61. 10/04/2014 12:30:01 PM              3035867673

62. 10/06/2014 07:54:54 PM              3035867673




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Case 3:16-cv-00541-MCR-GRJ Document 1-1 Filed 10/11/16 Page 9 of 19



63. 10/07/2014 06:46:33 PM              4252423621

64. 10/10/2014 09:01:53 AM              7022242091

65. 10/10/2014 09:48:25 AM              7022242091

66. 10/10/2014 11:09:24 AM              7022242091

67. 10/10/2014 06:38:24 PM              7022242091

68. 10/11/2014 09:43:43 AM              2062092296

69. 10/11/2014 10:43:20 AM              2062092296

70. 10/12/2014 10:18:56 AM              2062092296

71. 10/12/2014 12:01:20 PM              2062092296

72. 10/12/2014 01:08:21 PM              2062092296

73. 10/14/2014 11:58:52 AM              3035867673

74. 10/17/2014 01:05:39 PM              3103610035

75. 10/18/2014 11:37:31 AM              8664734868

76. 10/18/2014 02:23:29 PM              8664734868

77. 10/18/2014 04:26:32 PM              8664734868

78. 10/19/2014 12:05:24 PM              8664734868

79. 10/19/2014 03:08:42 PM              8664734868

80. 10/19/2014 04:22:12 PM              8664734868

81. 10/21/2014 11:02:40 AM              8664734868

82. 10/21/2014 12:26:58 PM              8664734868

83. 10/21/2014 01:15:11 PM              8664734868




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84. 10/21/2014 01:51:42 PM              8664734868

85. 10/22/2014 11:30:13 AM              8664734868

86. 10/22/2014 03:36:39 PM              8664734868

87. 10/22/2014 07:14:25 PM              8664734868

88. 10/23/2014 09:57:58 AM              8664734868

89. 10/23/2014 12:33:47 PM              8664734868

90. 10/23/2014 02:13:12 PM              8664734868

91. 10/23/2014 02:47:43 PM              8664734868

92. 10/23/2014 03:14:27 PM              8664734868

93. 10/23/2014 03:16:06 PM              8664734868

94. 10/23/2014 03:23:49 PM              8664734868

95. 10/24/2014 12:13:43 PM              8664734868

96. 10/24/2014 02:13:49 PM              8664734868

97. 10/24/2014 05:32:50 PM              8664734868

98. 10/24/2014 08:16:36 PM              8664734868

99. 10/26/2014 11:03:51 AM              8664734868

100.      10/27/2014 11:19:20 AM        8664734868

101.      10/27/2014 01:20:34 PM        8664734868

102.      10/28/2014 11:40:39 AM        8664734868

103.      10/28/2014 02:53:21 PM        8664734868

104.      10/29/2014 11:24:37 AM        8664734868




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105.    10/29/2014 01:39:17 PM          8664734868

106.    10/29/2014 04:16:56 PM          8664734868

107.    10/29/2014 06:42:09 PM          8664734868

108.    10/29/2014 07:22:10 PM          8664734868

109.    10/30/2014 11:54:32 AM          8664734868

110.    10/30/2014 02:09:58 PM          8664734868

111.    10/30/2014 02:50:22 PM          8664734868

112.    10/31/2014 09:49:25 AM          8664734868

113.    10/31/2014 12:17:04 PM          8664734868

114.    10/31/2014 02:02:20 PM          8664734868

115.    10/31/2014 03:55:44 PM          8664734868

116.    11/02/2014 11:07:18 AM          8664734868

117.    11/03/2014 02:39:58 PM          8664734868

118.    11/04/2014 11:44:43 AM          8664734868

119.    11/05/2014 12:51:28 PM          8664734868

120.    11/07/2014 09:29:50 AM          9737965994

121.    11/07/2014 11:31:15 AM          9737965994

122.    11/07/2014 11:34:29 AM          9737965994

123.    11/07/2014 12:00:09 PM          9737965994

124.    11/08/2014 09:12:10 AM          9737965994

125.    11/09/2014 09:19:20 AM          9737965994




                                 6
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126.    11/11/2014 12:03:32 PM          9737965994

127.    11/12/2014 12:29:10 PM          9737965994

128.    11/12/2014 02:30:50 PM          9737965994

129.    11/19/2014 05:04:12 PM          9737965994

130.    11/23/2014 08:19:14 AM          9737965994

131.    11/23/2014 09:55:39 AM          9737965994

132.    11/23/2014 11:05:22 AM          9737965994

133.    11/23/2014 12:24:18 PM          9737965994

134.    11/23/2014 01:44:19 PM          9737965994

135.    11/23/2014 02:50:18 PM          9737965994

136.    11/23/2014 04:00:15 PM          9737965994

137.    11/24/2014 12:19:13 PM          9737965994

138.    11/24/2014 02:30:50 PM          9737965994

139.    11/24/2014 06:23:37 PM          9737965994

140.    11/25/2014 11:54:05 AM          8664734868

141.    11/25/2014 05:41:58 PM          8664734868

142.    11/26/2014 07:04:51 PM          4702252571

143.    11/28/2014 08:31:18 AM          9737965994

144.    11/28/2014 10:01:43 AM          9737965994

145.    11/28/2014 12:01:00 PM          9737965994

146.    11/28/2014 01:16:09 PM          9737965994




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147.    11/28/2014 02:19:26 PM          9737965994

148.    11/28/2014 03:15:39 PM          9737965994

149.    11/28/2014 04:13:22 PM          9737965994

150.    11/28/2014 05:07:06 PM          9737965994

151.    11/28/2014 06:25:48 PM          9737965994

152.    11/29/2014 09:48:55 AM          8664734868

153.    11/29/2014 11:36:11 AM          8664734868

154.    11/29/2014 12:57:25 PM          8664734868

155.    11/29/2014 02:05:37 PM          8664734868

156.    11/29/2014 03:03:22 PM          8664734868

157.    11/29/2014 03:57:30 PM          8664734868

158.    11/29/2014 04:36:31 PM          8664734868

159.    11/29/2014 05:30:46 PM          8664734868

160.    11/29/2014 06:57:53 PM          8664734868

161.    11/30/2014 08:34:11 AM          8664734868

162.    11/30/2014 09:45:51 AM          8664734868

163.    11/30/2014 10:53:18 AM          8664734868

164.    11/30/2014 11:56:23 AM          8664734868

165.    11/30/2014 01:08:36 PM          8664734868

166.    11/30/2014 02:13:41 PM          8664734868

167.    11/30/2014 03:09:52 PM          8664734868




                                 8
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168.    11/30/2014 03:53:57 PM          8664734868

169.    11/30/2014 05:20:34 PM          8664734868

170.    12/01/2014 10:45:08 AM          4702252571

171.    12/01/2014 12:29:11 PM          4702252571

172.    12/01/2014 01:44:15 PM          4702252571

173.    12/01/2014 03:45:50 PM          4702252571

174.    12/01/2014 04:38:23 PM          4702252571

175.    12/01/2014 05:24:24 PM          4702252571

176.    12/01/2014 06:50:36 PM          4702252571

177.    12/02/2014 12:19:46 PM          9737965994

178.    12/03/2014 12:03:44 PM          8664734868

179.    12/03/2014 05:44:04 PM          8664734868

180.    12/03/2014 07:09:47 PM          8664734868

181.    12/04/2014 11:57:04 AM          4702252571

182.    12/04/2014 06:51:48 PM          4702252571

183.    12/05/2014 08:21:07 AM          9737965994

184.    12/05/2014 09:52:40 AM          9737965994

185.    12/05/2014 11:28:23 AM          9737965994

186.    12/05/2014 12:54:11 PM          9737965994

187.    12/05/2014 02:56:33 PM          9737965994

188.    12/05/2014 03:57:06 PM          9737965994




                                 9
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189.    12/06/2014 08:34:24 AM          8664734868

190.    12/06/2014 10:11:30 AM          8664734868

191.    12/06/2014 12:57:59 PM          8664734868

192.    12/06/2014 02:01:34 PM          8664734868

193.    12/06/2014 03:39:26 PM          8664734868

194.    12/06/2014 04:23:09 PM          8664734868

195.    12/06/2014 05:35:34 PM          8664734868

196.    12/07/2014 08:21:53 AM          8664734868

197.    12/07/2014 09:56:06 AM          8664734868

198.    12/07/2014 11:04:07 AM          8664734868

199.    12/07/2014 12:26:43 PM          8664734868

200.    12/07/2014 01:44:59 PM          8664734868

201.    12/07/2014 02:42:13 PM          8664734868

202.    12/07/2014 03:43:19 PM          8664734868

203.    12/07/2014 06:37:56 PM          8664734868

204.    12/08/2014 12:31:29 PM          7328672871

205.    12/08/2014 03:02:52 PM          7328672871

206.    12/08/2014 04:18:04 PM          7328672871

207.    12/08/2014 06:19:44 PM          7328672871

208.    12/08/2014 06:21:51 PM          7328672871

209.    12/08/2014 07:14:00 PM          7328672871




                                 10
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210.    12/09/2014 07:21:17 PM          4042392814

211.    12/09/2014 07:41:32 PM          4042392814

212.    12/10/2014 02:16:58 PM          6785282858

213.    12/10/2014 05:33:53 PM          6785282858

214.    12/11/2014 12:23:59 PM          4702252571

215.    12/11/2014 06:46:39 PM          4702252571

216.    12/12/2014 11:35:16 AM          8664734868

217.    12/12/2014 04:19:35 PM          8664734868

218.    12/12/2014 05:06:46 PM          8664734868

219.    12/12/2014 05:54:17 PM          8664734868

220.    12/13/2014 08:30:24 AM          7328672871

221.    12/13/2014 10:12:36 AM          7328672871

222.    12/13/2014 12:04:08 PM          7328672871

223.    12/13/2014 01:30:18 PM          7328672871

224.    12/13/2014 02:39:37 PM          7328672871

225.    12/13/2014 03:37:03 PM          7328672871

226.    12/13/2014 04:26:53 PM          7328672871

227.    12/13/2014 05:18:34 PM          7328672871

228.    12/13/2014 06:35:11 PM          7328672871

229.    12/13/2014 07:53:40 PM          7328672871

230.    12/14/2014 08:47:11 AM          7328672871




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231.    12/14/2014 10:08:55 AM          7328672871

232.    12/14/2014 11:27:36 AM          7328672871

233.    12/14/2014 12:47:48 PM          7328672871

234.    12/14/2014 01:44:41 PM          7328672871

235.    12/14/2014 02:40:09 PM          7328672871

236.    12/14/2014 03:34:08 PM          7328672871

237.    12/14/2014 04:36:22 PM          7328672871

238.    12/15/2014 11:46:14 AM          9737965994

239.    12/15/2014 05:29:23 PM          9737965994

240.    12/16/2014 12:26:04 PM          6785282858

241.    12/16/2014 05:25:26 PM          6785282858

242.    12/16/2014 07:22:55 PM          6785282858

243.    12/17/2014 12:28:33 PM          4042392814

244.    12/17/2014 05:03:28 PM          4042392814

245.    12/17/2014 06:31:07 PM          4042392814

246.    12/18/2014 02:31:26 PM          8664734868

247.    12/18/2014 05:13:32 PM          8664734868

248.    12/18/2014 06:33:46 PM          8664734868

249.    12/19/2014 08:23:26 AM          4702252571

250.    12/19/2014 09:48:32 AM          4702252571

251.    12/19/2014 11:22:52 AM          4702252571




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252.    12/19/2014 02:05:21 PM          4702252571

253.    12/19/2014 03:02:02 PM          4702252571

254.    12/19/2014 04:03:11 PM          4702252571

255.    12/19/2014 04:47:22 PM          4702252571

256.    12/19/2014 07:37:26 PM          4702252571

257.    12/20/2014 08:43:16 AM          7328672871

258.    12/20/2014 10:13:17 AM          7328672871

259.    12/20/2014 11:50:04 AM          7328672871

260.    12/20/2014 01:03:39 PM          7328672871

261.    12/20/2014 02:05:48 PM          7328672871

262.    12/20/2014 02:53:53 PM          7328672871

263.    12/20/2014 03:35:03 PM          7328672871

264.    12/20/2014 04:20:12 PM          7328672871

265.    12/20/2014 09:04:14 PM          7328672871

266.    12/21/2014 08:28:29 AM          7328672871

267.    12/21/2014 09:47:25 AM          7328672871

268.    12/21/2014 11:00:35 AM          7328672871

269.    12/21/2014 12:07:31 PM          7328672871

270.    12/21/2014 12:59:17 PM          7328672871

271.    12/21/2014 01:53:17 PM          7328672871

272.    12/21/2014 02:36:28 PM          7328672871




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273.    12/21/2014 03:22:29 PM          7328672871

274.    12/21/2014 04:18:24 PM          7328672871

275.    12/21/2014 06:16:56 PM          7328672871

276.    12/22/2014 12:12:47 PM          8664734868

277.    12/22/2014 06:02:01 PM          8664734868

278.    12/23/2014 06:24:21 PM          9737965994

279.    12/24/2014 11:38:15 AM          4042392814

280.    12/26/2014 08:17:59 AM          6785282858

281.    12/26/2014 09:55:54 AM          6785282858

282.    12/26/2014 11:57:08 AM          6785282858

283.    12/26/2014 01:34:10 PM          6785282858

284.    12/26/2014 02:46:08 PM          6785282858




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